     Case: 1:22-cv-06831 Document #: 48 Filed: 01/19/23 Page 1 of 2 PageID #:2089



                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

UBISOFT ENTERTAINMENT, S.A. AND                           )
UBISOFT, INC.,                                            )   Case No. 22-cv-6831
                                                          )
                 Plaintiffs,                              )
                                                          )    Judge Matthew F. Kennelly
v.                                                        )
                                                          )
                                                          )
all_in_store2 et al,                                      )
                                                          )
                                                          )
                                                          )
                 Defendants.                              )

     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL AS TO CERTAIN DEFENDANTS

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiffs UBISOFT
ENTERTAINMENT, S.A. and UBISOFT, INC. hereby dismisses with prejudice all causes of action in
the complaint as to the Defendants identified below and in Schedule A. No motions are pending relative
to these Defendants. Each party shall bear its own attorney's fees and costs.
        No.      Defendant
        40       YIWUSHIJUYIDIANZISHANGWUYOUXIAMGONGSI
        77       Hong Kong Gaoguang Technology
        129      FEDULKSTORE
        140      princessdresscode

        The respective Defendants have not filed an answer to the complaint or a motion for summary
judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is
appropriate.


                                         Respectfully submitted,
Dated: January 19, 2023                  By:      s/Michael A. Hierl             _
                                                  Michael A. Hierl (Bar No. 3128021)
                                                  William B. Kalbac (Bar No. 6301771)
                                                  Robert P. McMurray (Bar No. 6324332)
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                                                  UBISOFT ENTERTAINMENT, S.A. and
                                                  UBISOFT, INC.
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                                    CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of
Voluntary Dismissal was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on January 19, 2023.



                                                          s/Michael A. Hierl
